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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                                 )
CENTER FOR BIOLOGICAL DIVERSITY,                 )
                                                 )
                Plaintiff,                       )
                                                 )
       v.                                        )   No. 1:21-cv-01045-EGS
                                                 )
UNITED STATES FISH AND WILDLIFE                  )
SERVICE, et al.,                                 )
                                                 )
                Defendants.                      )
                                                 )

                                JOINT STATUS REPORT AND
                             JOINT MOTION TO CONTINUE STAY

       Pursuant to the Court’s minute order dated August 16, 2021 (“Order”), Plaintiff Center

for Biological Diversity and Defendants United States Fish and Wildlife Service (“FWS”); Debra

Haaland, in her official capacity as Secretary of the United States Department of Interior; and

Martha Williams, in her official capacity as Principal Deputy Director of FWS, (collectively,

“Defendants”) submit the following report informing the Court as to the status of the parties’

mediation discussions. In addition, the parties jointly move the Court to continue the current

stay by 90 days, until February 12, 2022. As discussed further below, a 90-day continuance of

the stay is necessary for the parties to continue their ongoing mediation discussions and finalize a

settlement agreement, if one is reached. Accordingly, the parties submit as follows:

       1.       On April 15, 2021, Plaintiff filed its Complaint, see Docket (“Dkt.”) 1, alleging

violations of the Endangered Species Act (“ESA”), see 16 U.S.C. §§ 1531-44, with respect to

multiple species.

       2.       On July 22, 2021, the parties jointly moved the Court to refer the above-captioned

case and two additional cases filed by Plaintiff against Defendants (Ctr. for Biological Diversity
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v. Haaland, No. 1:20-cv-00573-EGS (D.D.C.); and Ctr. for Biological Diversity v. FWS, No.

1:21-cv-00884-EGS (D.D.C.)) to the Court’s mediation program to allow the parties to discuss

the possibility of settling one or more of these cases in whole or in part. See Dkt. 14. Further,

the parties jointly moved the Court to stay further proceedings in the three cases for 90 days to

allow the parties to focus on the mediation discussions. Id.

       3.       On August 16, 2021, the Court entered a minute order granting the parties’ joint

motion and referring these three cases to the Court’s mediation program. In addition, the Court

stayed further proceedings in the three cases pending a further order from the Court and directed

the parties to submit a joint status report within 90 days (i.e., November 14, 2021) to update the

Court and, if necessary, provide any proposal for a further stay or further proceedings.

       4.       Since then, the parties have (virtually) met with the court-appointed mediator and

each other to discuss the possibility of resolving some or all of Plaintiff’s claims without further

litigation. These mediation discussions are ongoing, and the parties have agreed to continue their

discussions.

       5.       Accordingly, because these mediation discussions are ongoing, the parties believe

that a 90-day continuance of the stay, until February 12, 2022, in this case and the two additional

cases referred to mediation is necessary for the parties to continue their discussions and finalize a

settlement agreement, if one is reached.

       6.       The parties have not previously sought a continuance of the stay.

       NOW, THEREFORE, Defendants respectfully request that this Court enter an order as

follows:

       1.       Further proceedings in this case shall be stayed until February 12, 2022.

       2.       If this case settles in whole or part prior to February 12, 2022, the parties shall




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advise the Court of the settlement by filing a stipulation.

       3.       If no settlement of this case is reached prior to February 12, 2022, the parties shall

file a joint report and recommendation for further proceedings no later than February 12, 2022.

Dated: November 12, 2021                        Respectfully submitted,


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